Case 8:17-cv-00432-AG-DFM Document 73-1 Filed 03/05/18 Page 1 of 3 Page ID #:1183



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    6   Attorneys for Plaintiffs Brian Horowitz
        and Creative Outdoor Distributors USA, Inc.
    7

    8                         UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
   10   BRIAN HOROWITZ and CREATIVE               Case No. 8:17−cv−00432 AG (JCGx)
        OUTDOOR DISTRIBUTORS USA,
   11
        INC.,                                     Hon. Andrew J. Guilford
   12
                    Plaintiffs,                   DECLARATION OF DAVID MANNION
   13
                                                  IN SUPPORT OF MOTION OF
   14   v.                                        BLAKELEY LLP TO WITHDRAW AS
                                                  PLAINTIFFS’ COUNSEL
   15
        YISHUN CHEN and ZHAOSHENG
   16   CHEN,                                     Hearing Time: April 2, 2018 at 10:00 a.m.
                                                  Place: Courtroom 10D
   17
                    Defendants.
   18

   19
                                                  Discovery Cut-off: July 5, 2018
        ZHAOSHENG CHEN and YISHUN                 Trial Date: October 16, 2018
   20   CHEN,
   21
                    Counterclaim-Plaintiffs,
   22

   23
        v.

   24   BRIAN HOROWITZ and CREATIVE
   25
        OUTDOOR DISTRIBUTORS USC,
        INC., and DOES 1-20, inclusive,
   26

   27
                    Counterclaim-Defendants.

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                                               DECL. ISO BLAKELEY LLP’S MOT. TO WITHDRAW AS COUNSEL
                                                                        CASE NO. 8:17−CV−00432 AG (JCGx)
Case 8:17-cv-00432-AG-DFM Document 73-1 Filed 03/05/18 Page 2 of 3 Page ID #:1184



    1                         DECLARATION OF DAVID MANNION
    2   I, David Mannion, declare as follows:
    3         1.     I am licensed to practice in California and New York and I am admitted
    4   before this Court. I am an attorney at Blakeley LLP (“Blakeley”), attorneys of record
    5   for the Plaintiffs.1 I respectfully submit this declaration in support of the Motion of
    6   Blakeley LLP to Withdraw as Plaintiffs’ Counsel. I have personal knowledge of the
    7   following facts and, if called as a witness, could competently testify to them.
    8         2.     On November 29, 2017, I notified the Plaintiffs of their obligation under
    9   their retainer agreement to pay a deposit to cover trial fees by January 15, 2018.
   10   Blakeley later extended that date to February 26, 2018. On January 19, 2018, the
   11   Plaintiffs confirmed this deposit would be paid but it was not. Apart from failing to
   12   pay the deposit, the Plaintiffs owe Blakeley a substantial amount for unpaid fees
   13   which they have failed to pay in accordance with the terms of Blakeley’s retainer
   14   agreement despite repeated requests.
   15         3.     The retainer agreement expressly permits Blakeley to withdraw as
   16   counsel if its fees are not paid.
   17         4.     On February 26, 2018, the Plaintiffs informed me that they were
   18   retaining new counsel. As far as I am aware, the Plaintiffs have retained Marc
   19   Forsythe (Cal. Bar. No. 153854) of Goe & Forsythe LLP and Darrell Gibby, Esq. of
   20   Gibby Law Firm, PLLC who will be appearing pro hac vice. Mr. Forsythe informed
   21   me that he would file a notice of appearance on or after March 9, 2018.
   22         5.     On February 27, 2018, I notified the Plaintiffs that unless new counsel
   23   appeared, Blakeley would be forced to file this motion and if Creative did not retain
   24   new counsel, a default judgment could be entered dismissing its claims and granting
   25   the defendants a default judgment on their counterclaims.
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         Capitalized terms not defined herein have the same meaning as in the accompanying
   28   Memorandum of Points and Authorities.
                                                     1
                                                DECL. ISO BLAKELEY LLP’S MOT. TO WITHDRAW AS COUNSEL
                                                                         CASE NO. 8:17−CV−00432 AG (JCGx)
Case 8:17-cv-00432-AG-DFM Document 73-1 Filed 03/05/18 Page 3 of 3 Page ID #:1185



    1         6.     Since November 29, 2017 onwards, Blakeley repeatedly notified the
    2   Plaintiffs, orally and in writing, that if they did not comply with their payment
    3   obligations under the retainer agreement, Blakeley would have to promptly withdraw.
    4         7.     Blakeley has provided all client files to the Plaintiffs and made the
    5   Plaintiffs’ property available for collection.
    6         8.     A filed copy of Blakeley’s motion to withdraw and supporting papers
    7   will be served on the Plaintiffs by email (which is how Blakeley normally
    8   communicates with them) and by first class mail.
    9         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
   10   foregoing is true and correct.
   11         Executed on March 5, 2018 in New York, New York.
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                                                         /s/ David Mannion                   .
                                                             David Mannion
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                                                DECL. ISO BLAKELEY LLP’S MOT. TO WITHDRAW AS COUNSEL
                                                                         CASE NO. 8:17−CV−00432 AG (JCGx)
